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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------ X
LAUREN BONNER,                                                :
                                                              :
                                    Plaintiff,                :   Civil Case No. 18-cv-1233 (AT)(HBP)
                                                              :
                v.                                            :
                                                              :
POINT72 ASSET MANAGEMENT, L.P.,                               :
STEVEN A. COHEN, in his individual and                        :
professional capacity, and DOUGLAS D.                         :
HAYNES, in his individual and professional                    :
capacity,                                                     :
                                                              :
                                    Defendants.               :
------------------------------------------------------------- X



                 PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION
                 TO DEFENDANTS’ MOTION TO COMPEL ARBITRATION




                                                             WIGDOR LLP

                                                             Jeanne M. Christensen
                                                             Michael J. Willemin
                                                             Kenneth D. Walsh

                                                             85 Fifth Avenue
                                                             New York, NY 10003
                                                             Telephone: (212) 257-6800
                                                             Facsimile: (212) 257-6845

                                                             Counsel for Plaintiff
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        Plaintiff Lauren Bonner respectfully submits this memorandum of law in opposition to

Defendants Point72 Asset Management, L.P., Steven A. Cohen and Douglas D. Haynes’s

(collectively, “Point72,” the “Company” or “Defendants”) motion pursuant to Fed. R. Civ. P.

12(b)(1) and 12(b)(6) and the Federal Arbitration Act, 9 U.S.C. §§ 1 et seq. (“FAA”), seeking an

Order: (i) compelling arbitration of Plaintiff’s claims asserted in this action; and (ii) dismissing

Plaintiff’s Complaint, or, in the alternative, staying all proceedings pending resolution of

Plaintiff’s claims in arbitration. For the reasons set forth herein, Defendants’ motion should be

denied in its entirety.

                                   PRELIMINARY STATEMENT

        In bringing and maintaining this action, Plaintiff Lauren Bonner seeks to shed light on

pervasive structural sexism at Point72 and hold accountable Defendants Point72, Cohen, Haynes

and other executives at the Company for their shameful and unlawful conduct. In making the

instant motion to compel arbitration, Defendants have demonstrated yet again that they will go to

any and all lengths to keep their unlawful and discriminatory conduct shrouded in secrecy and

concealed from public scrutiny.       Indeed, they seek to have this lawsuit shuttled away to

arbitration despite the fact that the only arbitration provision agreed to by the parties plainly does

not apply to Plaintiff’s claims.

        As described at length herein, the arbitration clause contained in Ms. Bonner’s

employment agreement with Point72 only applies to claims involving the interpretation of her

employment agreement.        But, Plaintiff’s claims do not relate to an interpretation of her

employment agreement. Rather, Plaintiff’s claims arise under the Equal Pay Act, 29 U.S.C. §§

206 et seq. (“EPA”), the New York Labor Law, N.Y. Lab. Law § 194 (“NYLL”), the New York




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State Human Rights Law, N.Y. Exec. Law §§ 290 et seq. (“NYSHRL”), and the New York City

Human Rights Law, New York City Admin. Code §§ 8-101 et seq. (“NYCHRL”).

              The arbitration clause simply does not cover the claims brought herein. Therefore, and

for the reasons set forth herein, the Court should deny Defendants’ motion to compel arbitration

in its entirety.

                                                                  BACKGROUND

              Since August 2016, Plaintiff has worked as an Associate Director at Point72.1 See Am.

Compl., Dkt. No. 26 at ¶ 24.                                   Upon joining Point72, Ms. Bonner signed an “Agreement

Regarding Conditions of Employment” (the “Employment Agreement”). See Declaration of

Jeanne M. Christensen (“Christensen Decl.”), Ex. A. Relevant for purposes of the instant

motion, the Employment Agreement contains a clause addressing arbitrability of claims asserted

against Point72 (the “Arbitration Clause”). Specifically, the Arbitration Clause states:

              THE PARTIES AGREE THAT ANY DISPUTE OR CONTROVERSY
              ARISING OUT OF OR RELATING TO THIS AGREEMENT, YOUR
              OFFER LETTER, AND/OR THE EMPLOYMENT RELATIONSHIP,
              WILL BE SETTLED BY ARBITRATION, TO BE HELD IN STAMFORD,
              CONNECTICUT, IN ACCORDANCE WITH THE EMPLOYMENT
              ARBITRATION RULES, THEN IN EFFECT, OF THE AMERICAN
              ARBITRATION ASSOCIATION; PROVIDED HOWEVER, THAT THE
              ARBITRATOR WILL BE KNOWLEDGABLE IN INDUSTRY
              STANDARDS AND PRACTICES, THAT THE POWER OF THE
              ARBITRATOR WILL BE LIMITED TO INTERPRETING THIS
              AGREEMENT AND/OR THE OFFER LETTER AS WRITTEN AND
              THAT THE ARBITRATOR WILL STATE IN WRITING THE REASONS
              FOR HIS OR HER AWARD AND THE LEGAL AND FACTUAL
              CONCLUSIONS UNDERLYING THE AWARD. THE AWARD OF THE
              ARBITRATOR WILL BE FINAL, AND JUDGMENT UPON THE AWARD
              MAY BE CONFIRMED AND ENTERED IN ANY COURT, STATE OR
              FEDERAL, HAVING JURISDICTION.

See Christensen Decl., Ex. A at §10 (bold in original, underline added).
                                                            
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       The facts underlying Plaintiff’s claims are not currently at issue and are not addressed at
length herein.


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       On February 12, 2018, as a result of Defendants’ pervasive discriminatory conduct as

described in the Complaint, Plaintiff commenced this lawsuit alleging causes of action for

violations of the EPA, NYLL, NYSHRL and NYCHRL. See Dkt. No. 1. Specifically, in her

Complaint, Plaintiff alleges, inter alia, that “[d]iscrimination permeates the P72 environment so

deeply that high level employees and executives are comfortable openly and explicitly

expressing their disdain for women.” Id. at ¶ 13. According to Plaintiff, Point72’s structural

sexism “causes women to be routinely denied promotions and regularly forced out after male

executives accuse them of being ‘too emotional,’ ‘too sensitive’ or simply, ‘women.’” Id. at ¶

12. Plaintiff further alleges that, as a result of the Company’s pervasive pattern of structural

sexism, “the few women that are hired by P72 earn substantially less than their male

counterparts, at times earning less than 50 cents for each dollar earned by men, and sometimes

as little as one-third of what men earn.” Id. at ¶ 14 (emphasis in original).

       Desperate to keep Plaintiff’s allegations regarding Point72’s unlawful and discriminatory

conduct hidden from public scrutiny, on February 13, 2018, nearly immediately after Plaintiff

filed her Complaint, Defendants filed a letter motion seeking the extraordinary relief of sealing

Plaintiff’s Complaint in its entirety pending resolution of Defendants’ anticipated motion to

compel arbitration. See Dkt. No. 9. Defendants sought to secure secrecy and conceal their

alleged unlawful and discriminatory conduct from public scrutiny on the grounds that the

Complaint purportedly contains “highly confidential and sensitive allegations about third-parties,

including purported compensation information.” Id.

       On February 20, 2018, the Court denied Defendants’ motion to seal the Complaint in its

entirety, holding that Defendants failed “to point to any information in the complaint that falls

into th[e] category [of non-public confidential and/or proprietary information] except for




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information about the compensation of [Defendants’] other employees.” Dkt. No. 21. The Court

further observed that, “[e]ven if the Court were to find that the parties agreed to keep this

information confidential or that Defendants’ privacy interest in this information outweighs the

presumption of public access, the Court finds that sealing the entire complaint is not narrowly

tailored to serve those interests.” Id. As the Court observed, “Defendants could have, but did

not, apply to redact the relevant portions of the complaint in accordance with Rule IV.A of the

Court’s Individual Practices in Civil Cases.”2 Id.

              On February 14, 2018, in a continuation of Defendants’ attempt to keep their unlawful

and discriminatory conduct hidden and out of view of the public eye, Defendants filed the instant

motion pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6) and the FAA, seeking an Order: (i)

compelling arbitration of Plaintiff’s claims asserted in this action; and (ii) dismissing Plaintiff’s

Complaint, or, in the alternative, staying all proceedings pending resolution of Plaintiff’s claims

in arbitration. See Dkt. No. 19. According to Defendants, Ms. Bonner’s claims are subject to

arbitration because she “agreed to arbitrate employment-related disputes with Point72 as a

condition of employment with the Company.” Id. at 1. However, for the reasons set forth

herein, the Arbitration Clause in Plaintiff’s Employment Agreement does not apply to Plaintiff’s

claims asserted in this action, and Defendants’ arguments lack merit. Accordingly, the Court

should deny Defendants’ motion to compel arbitration in its entirety and should adjudicate the

merits of Plaintiff’s claims.




                                                            
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       Consistent with the Court’s observation, Plaintiff consented to Defendants’ request that
limited information be redacted from the Complaint, and an Amended Complaint was filed on
February 27, 2018. See Dkt. No. 26.


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                                     LEGAL ARGUMENT

I.     PLAINTIFF’S CLAIMS ASSERTED IN THIS ACTION ARE NOT SUBJECT TO
       THE EMPLOYMENT AGREEMENT’S ARBITRATION CLAUSE

       A.      The Arbitration Clause, on its Face, Does Not Cover Plaintiff’s Claims

       Although the FAA reflects a liberal policy favoring arbitration, “it is a ‘fundamental

principal that arbitration is a matter of contract.’” Nat’l Credit Union Admin. Bd. v. Goldman,

Sachs & Co., No. 13 Civ. 6721 (DLC), 2014 WL 297518, at *2 (S.D.N.Y. Jan. 28, 2014)

(quoting Rent-A-Center West, Inc. v. Jackson, 561 U.S. 63, 67, 130 S. Ct. 2772 (2010)).

Therefore, “a party cannot be required to submit to arbitration any dispute which he has not

agreed so to submit.” In re Am. Exp. Fin. Advisors Sec. Litig., 672 F.3d 113, 127-28 (2d Cir.

2011) (emphasis added); see also Opals on Ice Lingerie v. Bodylines Inc., 320 F.3d 362, 369 (2d

Cir. 2003) (observing that arbitration agreements are “as enforceable as other contracts, but not

more so”).

       In determining whether a plaintiff’s claims are subject to an arbitration agreement, “a

court must consider (1) whether the parties have entered into a valid agreement to arbitrate, and,

if so, (2) whether the dispute at issue comes within the scope of the arbitration agreement.” In re

Am. Exp. Fin. Servs., Inc. Litig., 672 F.3d at 128. Furthermore, in determining a motion to

compel arbitration, “[t]he issue of whether the parties to a contract have agreed to arbitration is

controlled by their intention.” State v. Phillip Morris, Inc., 297 Conn. 785, 796 (2006).

       In deciding a motion to compel arbitration, the court ordinarily “applies a standard

similar to that applicable for a motion for summary judgment.” Bensadoun v. Jobe-Riat, 316

F.3d 171, 175 (2d Cir. 2003); see also Lismore v. Societe Generale Energy Corp., No. 11 Civ.

6705 (AJN), 2012 WL 3577833, at *1 (S.D.N.Y. Aug. 17, 2012) (holding that, in deciding a

motion to compel arbitration, “the Court would apply a standard similar to that of a summary



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judgment motion . . . and some discovery may be available or necessary”). However, where the

defendant moves to compel arbitration “before discovery has taken place, in the context of a

motion to dismiss, [the court] treats the allegations in plaintiffs’ complaint as true.” Moss v.

BMO Harris Bank, N.A., 24 F. Supp. 3d 281, 284 (S.D.N.Y. 2014).

       Applying these standards, the Court should deny Defendants’ motion to compel

arbitration in its entirety.   Plaintiff does not dispute that she executed the Employment

Agreement with Point72, and that in doing so, she agreed to arbitrate certain claims. However,

the claims that Plaintiff asserts in this action clearly fall outside the scope of the Arbitration

Clause, as the clause specifically states that the power of any arbitrator is “limited to interpreting

th[e] [Employment] [A]greement and/or the offer letter as written . . . .” Christensen Decl., Ex.

A at § 10. Plaintiff does not assert any claims against Defendants involving the interpretation of

her Employment Agreement or offer letter. Rather, she asserts causes of action arising under the

EPA, NYLL, NYSHRL and NYCHRL arising from pervasive structural sexism at Point72. See

Compl. at ¶¶ 128-70. Given that the parties only agreed to grant an arbitrator the authority to

“interpret[ ] th[e] [Employment] [A]greement and/or the offer letter as written,” the employment

discrimination claims brought herein cannot be arbitrated, and Defendants’ motion should be

denied. See Garcia v. Golden Abacus, Inc., No. 16 Civ. 6252 (LTS), 2017 WL 2560007, at *3

(S.D.N.Y. June 13, 2017) (denying the defendant’s motion to compel arbitration where the

“action [was] outside the scope of the Agreement’s arbitration clause”); see also Chevron U.S.A.,

Inc. v. Consol. Edison Co. of New York, 872 F.2d 534, 537 (2d Cir. 1989) (observing that “a

party cannot be required to submit to arbitration any dispute which he has not agreed so to

submit”).




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       B.      Defendants’ Purported Interpretation of the Arbitration Clause Is Without
               Merit

       Despite the fact that the Arbitration Clause explicitly limits an arbitrator’s ability to

decide disputes between the parties concerning the interpretation of Plaintiff’s Employment

Agreement or offer letter, Defendants argue that Plaintiff’s claims should be compelled to

arbitration. In making this argument, Defendants naturally isolate and focus on only one phrase

within the Arbitration Clause. Specifically, Defendants point to the opening phrase of the

Arbitration Clause, which states that “any dispute or controversy arising out of or relating to this

agreement, or [Plaintiff’s] offer letter, and/or the employment relationship, will be settled by

arbitration . . . .” Christensen Decl., Ex. A at § 10. Indeed, Defendants repeatedly quote solely

this opening phrase of the Arbitration Clause, failing to fully cite the remaining crucial language.

See Defs.’ Mem. at 2-6.

       While the opening phrase of the Arbitration Clause is undoubtedly broad, it cannot be

read in isolation. Indeed, and critically, the portion of the provision starting with the words, “the

parties agree…” through the words, “…underlying the award,” is a single sentence. Id. The use

of the words, “provided,” “however” and “limited,” all of which are contained in the same

sentence as the broad opening phrase, are – of course – intended to qualify and limit the types of

disputes that can be arbitrated and set the conditions for such arbitrations:

              The word “provided” means “on the condition or understanding.”
               See http://www.dictionary.com/browse/provided. Here, the broad
               opening phrase of the Arbitration Agreement is subsequently being
               conditioned on the relevant dispute being related to an
               interpretation of the Employment Agreement and/or offer letter.

              The word “however” means “nevertheless; yet; on the other hand;
               in spite of that.” See http://www.dictionary.com/browse/however.
               Here, “in spite of” the broad opening phrase of the Arbitration
               Agreement, arbitrable disputes are, in fact, limited to those that are




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                             related to an interpretation of the Employment Agreement and/or
                             offer letter.

                            The word “limited” means “confined within limits, restricted or
                             circumscribed.” See http://www.dictionary.com/browse/limited.
                             Again, notwithstanding the broad opening phrase of the Arbitration
                             Agreement, the arbitrator’s authority is limited to disputes
                             involving the interpretation of the Employment Agreement and/or
                             offer letter.

              To determine the force and effect of the opening phrase of the Arbitration Clause without

consideration of the qualifications and conditions outlined in the very same sentence, as

Defendants wish, would be to violate basic principles of contract interpretation.3 See Harvey v.

Daddona, 29 Conn. App. 369, 375 (Conn. App. Ct. 1992) (“To give meaning to contracts, courts

interpret the intent of the parties by construing the whole contract and all relevant provisions

together.”) (emphasis added); see also Downs v. Nat’l Cas. Co., 146 Conn. 490, 495 (1959)

(“[A] court must attempt to give meaning to every word of a contract.”).

              In an effort to manufacture meaning to the limiting clauses that is somehow consistent

with their desire to compel arbitration, Defendants argue that the limiting clauses means only

that “the arbitrator cannot amend or modify” the Employment Agreement and/or offer letter and

does not otherwise limit the power of the arbitrator. Defs.’ Mem. at 8. However, that is simply

not what the Arbitration Clause says. The Arbitration Clause states very clearly, notwithstanding

the broad opening phrase, “that the power of the arbitrator will be limited to interpreting the

agreement and/or the offer letter as written.” Christensen Dec., Ex. A at § 10. This provision

explicitly proscribes “the power of the arbitrator” with respect to the types of determinations an

arbitrator can make.                          While Defendants argue that the provision “does not even reference

                                                            
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       The cases cited by Defendants – which they disingenuously state involve arbitration
agreements “nearly identical” to the one at issue herein – are completely inapposite because they
do not contain any limiting language. See Thomas v. Pub. Storage, Inc., 957 F. Supp. 2d 496,
498 (S.D.N.Y. 2013); Oldroyd v. Elmira Sav. Bank, FSB, 134 F.3d 72, 77 (2d Cir. 1998).


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disputes related to the ‘employment relationship,’” this argument is disingenuous – the limiting

provision is in the same exact sentence as the reference to disputes related to the employment

relationship. Id. By way of analogy, if the limiting clause read, “that the power of the arbitrator

will be limited to interpreting Sarbanes-Oxley,” it plainly would preclude arbitration of the

claims brought herein. The provision at issue has the same effect as it relates to the claims

brought herein, and the Court should decline to give weight to Defendants’ tortured

interpretation of the Arbitration Clause.

       Indeed, Defendants’ interpretation defies common sense – there is no reason that the

parties would have to include a provision to specify that the arbitrator cannot amend or modify

the Employment Agreement and/or offer letter because the parties never agreed to confer on the

arbitrator the power to amend or modify either agreement. Arbitrators already have an inherent

obligation to interpret and apply contracts as they are written. See Comprehensive Orthopaedics

& Musculoskeletal Care, LLC v. Axtmayer, 293 Conn. 748, 765 (2009) (in determining whether

an arbitrator has exceeded his or her power, the court is “charged with determining if the

arbitrator[ ] ha[s] ignored their obligation to interpret and to apply the contract as written”).

Moreover, the Employment Agreement contains a provision regarding “Amendment or

Alteration” that provides that the Employment Agreement cannot be amended except in a writing

signed by Plaintiff and the General Counsel of Point72. See Christensen Decl., Ex. A at § 11.

Put simply, there would be no reason for the parties to insert a clause that does nothing more

than clarify that the arbitrator does not have a power that no one could possibly believe he or she

would have.

       Accordingly, the Court should reject Defendants’ purported interpretation of the relevant

limiting clause and deny Defendants’ motion to compel. See Tallmadge Bros., Inc. v. Iroquois




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Gas Transmission Sys., L.P., 252 Conn 479, 499 (2000) (“Such a tortured interpretation of the

language . . . cannot be reconciled with our long-standing rule that the language used must be

accorded its common, natural, and ordinary meaning and usage where it can be sensibly applied

to the subject matter of the contract.”); see also 24 Leggett St. Ltd. P’ship v. Beacon Indus., Inc.,

239 Conn. 284, 295 (1996) (“A court will not torture words to import ambiguity where the

ordinary meaning leaves no room for ambiguity.”).

II.      THIS COURT CAN AND SHOULD DECIDE THE ISSUE OF ARBITRABILITY
         IN THE FIRST INSTANCE

         Under the FAA, “the general presumption is that the issue of arbitrability should be

resolved by the courts.” Alliance Bernstein Inv. Research & Mgmt., Inc. v. Schaffran, 445 F.3d

121, 125 (2d Cir. 2006); see also First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944,

115 S. Ct. 1920 (1995) (observing that “there is a general presumption that the issue of

arbitrability . . . should be resolved by the courts”); Bayme v. GroupAgent Sec., LLC, No. 10 Civ.

6213 (GBD), 2011 WL 2946718, at *3 (S.D.N.Y. July 19, 2011) (“The question of arbitrability

is an issue for judicial determination unless the parties clearly and unmistakably provide

otherwise.”) (internal quotation omitted). Therefore, courts do not “assume that the parties

agreed to arbitrate arbitrability unless there is ‘clear and unmistakable’ evidence that they did

so.” First Options of Chicago, Inc., 514 U.S. at 944 (emphasis added) (quoting AT&T Techs.,

Inc. v. Commc’ns Workers of Am., 475 U.S. 643, 649, 106 S. Ct. 1415 (1986)). Where there are

questions regarding who may decide issues of arbitrability, “the law . . . favor[s] judicial rather

than arbitral resolution.” Shaw Grp., Inc. v. Triplefine Int’l Corp., 322 F.3d 115, 120 (2d Cir.

2003).

         In arguing that the Court should refer this action to arbitration to determine the issue of

arbitrability in the first instance, Defendants claim that the Court “must . . . refer this case to



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arbitration as the provision explicitly delegates arbitrability determinations to the arbitrator.” See

Defs.’ Mem. at 9. However, where, as here, an arbitration clause clearly does not encompass the

claims at issue in an action, the court should decline to submit the threshold issue of arbitrability

to the arbitrator in the first instance. See NASDAQ OMX Grp., Inc. v. UBS Sec., LLC, 770 F.3d

1010, 1032 (2d Cir. 2014) (holding that arbitrability was to be decided by the court in the first

instance where the American Arbitration Association’s rules only applied “to such arbitrations as

may arise under the Agreement”); Greene v. Subcontracting Concepts, L.L.C., No. 13 Civ. 1500

(AJN), 2014 WL 1087999, at *3 (S.D.N.Y. Mar. 19, 2014) (holding that “doubts as to who

determines arbitrability—that is, the arbitrability of the question of arbitrability’ are

presumptively resolved in favor of resolution by courts”) (internal quotation omitted); see also

United Parcel Serv. v. Lexington Ins. Grp., No. 12 Civ. 7961 (SAS), 2013 WL 1897777, at *2

(S.D.N.Y. May 7, 2013) (holding that the court had the authority to determine arbitrability in the

first instance despite the incorporation by reference of the American Arbitration Association’s

rules).          As the claims at issue in this action are plainly not subject to the Employment

Agreement’s Arbitration Clause, it cannot be said that the parties “unmistakeably” agreed to

submit anything relating to this dispute to arbitration, and it would be an inefficient use of

resources to refer the issue of arbitrability to an arbitrator. Therefore, the Court should deny

Defendants’ motion insofar as they argue that this Court should submit the question of

arbitrability to the arbitrator in the first instance.

              Based upon the foregoing, the Court should determine the threshold issue of arbitrability

in the first instance and deny Defendants’ motion to compel arbitration.4


                                                            
4
       To the extent the Court grants any portion of Defendants’ motion to compel arbitration
and dismisses Plaintiff’s Complaint as opposed to merely staying proceedings during the
pendency of arbitration proceedings, any such dismissal should be without prejudice.


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                                      CONCLUSION

        For the reasons set forth herein, Defendants’ motion to compel arbitration should be

denied in its entirety.

Dated: March 21, 2018
       New York, New York                         Respectfully submitted,

                                                  WIGDOR LLP


                                                  By: ____________________________
                                                         Jeanne M. Christensen
                                                         Michael J. Willemin
                                                         Kenneth D. Walsh

                                                  85 Fifth Avenue
                                                  New York, NY 10003
                                                  Telephone: (212) 257-6800
                                                  Facsimile: (212) 257-6845
                                                  jchristensen@wigdorlaw.com
                                                  mwillemin@wigdorlaw.com
                                                  kwalsh@wigdorlaw.com

                                                  Counsel for Plaintiff
 




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